        Case 2:20-cv-06979-FMO-AS Document 74 Filed 11/05/20 Page 1 of 3 Page ID #:449

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

DENEICE WAIDHOFER, an individual; MARGARET                                )
MCGEHEE, an individual; and RYUU LAVITZ LLC, a                            )
    Massachusetts limited liability company,                              )
                                                                          )
                            Plaintiff(s)                                  )
                                                                          )
                                v.                                            Civil Action No. 2:20-cv-06979-FMO-AS
                                                                          )
 CLOUDFLARE, INC., a Delaware Corporation, et al.                         )
               [see attached]                                             )
                                                                          )
                                                                          )
                           Defendant(s)                                   )

                                                    SUMMONS IN A CIVIL ACTION
                                                     ON FIRST AMENDED COMPLAINT
To: (Defendant’s name and address) CrakMedia Inc.
                                           410 Boulevard Charest E Suite 500
                                           Quebec City, Quebec G1K 8G3, Canada




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Charles Reiter
                                           Reiter Gruber LLP
                                           100 Wilshire Blvd., Ste. 700
                                           Santa Monica, CA 90401



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             11/05/2020
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                                                     Page12of
                                                            of89 PageID
                                                               3 Page ID#:450
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  1

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  9    Attorneys for Plaintiffs
 10

 11                         UNITED STATES DISTRICT COURT

 12                       CENTRAL DISTRICT OF CALIFORNIA

 13
      DENIECE WAIDHOFER, an individual;              Case No. 2:20-cv-06979
 14   MARGARET MCGEHEE, an individual;
 15   and RYUU LAVITZ, LLC, a                        FIRST AMENDED COMPLAINT
      Massachusetts limited liability company;       FOR DAMAGES AND OTHER
 16                                                  RELIEF
 17                                 Plaintiffs,
      v.
 18

 19   CLOUDFLARE, INC., a Delaware
      corporation; BANGBROS.COM, INC., a             [DEMAND FOR JURY TRIAL]
 20   Florida corporation; SONESTA
 21   TECHNOLOGIES, INC., a Florida
      corporation; MULTI MEDIA LLC, a
 22   California limited liability company;
 23   CRAKMEDIA INC., a Canadian
      corporation; and JOHN DOES 1-21, as-yet
 24   unidentified individuals,
 25
                                  Defendants.
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 27

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         Case 2:20-cv-06979-FMO-AS Document 74 Filed 11/05/20 Page 3 of 3 Page ID #:451

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:20-cv-06979-FMO-AS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
